                     UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA

                             CIVIL TRIAL MINUTES

 Date: March 21, 2022        Time: 6 hours           Judge: NATHANAEL M.
                                                     COUSINS
 Case No. 20-cv-06408 NC     Case Name: Comet Technologies USA INC., et al v.
                             XP Power LLC

Attorneys for Plaintiffs: Adam Alper, Michael De Vries, Sharre Lotfollahi,
                          Akshay Deoras, Leslie Schmidt, Kyle Calhoun, Samuel Blake

Attorneys for Defendant: Joseph Farrell, Patricia Young, Matthew Walch,
                         Jeffrey Homrig, Blake Davis, Steven O’Donohue,


Deputy Clerk: Lili Harrell                    Court Reporter: Summer Fisher


                                   PROCEEDINGS

Jury Trial – Day Seven

             Witnesses: John Spencer, David Cowan, Carlyn Irwin
             Video Depositions of Paul Smith, Markus Pfeiffer
             Defendants rest
             Closing Jury Instructions
             Closing arguments

Further Jury Trial continued to March 22, 2022, at 9:30 a.m. for Jury Deliberations




      -   See attached Trial Log
